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   Attachment 1


                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
             COURT CASE NUMBER: 19-CR-60280-CMA; NOTICE OF FORFEITURE

         Notice is hereby given that on November 20, 2019, in the case of U.S. v. Victor
   Fossi Grieco, Court Case Number 19-CR-60280-CMA, the United States District Court for
   the Southern District of Florida entered an Order condemning and forfeiting the following
   property to the United States of America:

          approximately 230 pounds of gold recovered from the metal compartment of the
          nose of private jet YV3325 (19-ICE-001982) which was seized from Jean Carlos
          Sanchez Rojas on September 20, 2019 at, Fort Lauderdale Executive Airport,
          located in FT. Lauderdale, FL

           The United States hereby gives notice of its intent to dispose of the forfeited
   property in such manner as the United States Attorney General may direct. Any person,
   other than the defendant(s) in this case, claiming interest in the forfeited property must file
   an ancillary petition within 60 days of the first date of publication (November 23, 2019) of
   this Notice on this official government internet web site, pursuant to Rule 32.2 of the
   Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition
   must be filed with the Clerk of the Court, 400 North Miami Avenue, Room 8N09, Miami, FL
   33128, and a copy served upon Assistant United States Attorney Adrienne Rosen, 99 N.E.
   4th Street, Miami, FL 33132. The ancillary petition shall be signed by the petitioner under
   penalty of perjury and shall set forth the nature and extent of the petitioner's right, title or
   interest in the forfeited property, the time and circumstances of the petitioner's acquisition
   of the right, title and interest in the forfeited property and any additional facts supporting
   the petitioner's claim and the relief sought, pursuant to 21 U.S.C. § 853(n).

           Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
   are filed, following the expiration of the period specified above for the filing of such
   ancillary petitions, the United States shall have clear title to the property and may warrant
   good title to any subsequent purchaser or transferee.

           The government may also consider granting petitions for remission or mitigation,
   which pardon all or part of the property from the forfeiture. A petition must include a
   description of your interest in the property supported by documentation; include any facts
   you believe justify the return of the property; and be signed under oath, subject to the
   penalty of perjury, or meet the requirements of an unsworn statement under penalty of
   perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
   mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
   the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
   forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
   made in any particular form and may be filed online or in writing. You should file a petition
   for remission not later than 11:59 PM EST 30 days after the date of final publication of this
   notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
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   website provides access to a standard petition for remission form that may be mailed and
   the link to file a petition for remission online. If you cannot find the desired assets online,
   you must file your petition for remission in writing by sending it to Assistant United States
   Attorney Adrienne Rosen, 99 N.E. 4th Street, Miami, FL 33132. This website provides
   answers to frequently asked questions (FAQs) about filing a petition for remission. You
   may file both an ancillary petition with the court and a petition for remission or mitigation.
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                                     Advertisement Certification Report


   The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
   between November 23, 2019 and December 22, 2019. Below is a summary report that identifies the
   uptime for each day within the publication period and reports the results of the web monitoring system’s
   daily check that verifies that the advertisement was available each day.

   U.S. v. Victor Fossi Grieco

   Court Case No:                19-CR-60280-CMA
   For Asset ID(s):              See Attached Advertisement Copy

      Consecutive          Date Advertisement         Total Hours Web Site             Verification that
      Calendar Day          Appeared on the           was Available during              Advertisement
          Count                 Web Site                  Calendar Day                existed on Web Site
            1                   11/23/2019                      24.0                          Verified
            2                   11/24/2019                      24.0                          Verified
            3                   11/25/2019                      24.0                          Verified
            4                   11/26/2019                      24.0                          Verified
            5                   11/27/2019                      24.0                          Verified
            6                   11/28/2019                      24.0                          Verified
            7                   11/29/2019                      24.0                          Verified
            8                   11/30/2019                      24.0                          Verified
            9                   12/01/2019                      24.0                          Verified
           10                   12/02/2019                      24.0                          Verified
           11                   12/03/2019                      24.0                          Verified
           12                   12/04/2019                      24.0                          Verified
           13                   12/05/2019                      24.0                          Verified
           14                   12/06/2019                      24.0                          Verified
           15                   12/07/2019                      24.0                          Verified
           16                   12/08/2019                      24.0                          Verified
           17                   12/09/2019                      24.0                          Verified
           18                   12/10/2019                      24.0                          Verified
           19                   12/11/2019                      24.0                          Verified
           20                   12/12/2019                      24.0                          Verified
           21                   12/13/2019                      24.0                          Verified
           22                   12/14/2019                      24.0                          Verified
           23                   12/15/2019                      24.0                          Verified
           24                   12/16/2019                      24.0                          Verified
           25                   12/17/2019                      24.0                          Verified
           26                   12/18/2019                      24.0                          Verified
           27                   12/19/2019                      24.0                          Verified
           28                   12/20/2019                      24.0                          Verified
           29                   12/21/2019                      24.0                          Verified
           30                   12/22/2019                      24.0                          Verified
   Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
